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                   14
                                                  NORTHERN DISTRICT OF CALIFORNIA
                   15
                                                           OAKLAND DIVISION
                   16

                   17
                        In re Google RTB Consumer Privacy            Master File No. 4:21-cv-02155-YGR-VKD
                   18   Litigation,
                                                                     GOOGLE’S ADMINISTRATIVE MOTION TO
                   19                                                SEAL PORTIONS OF THE FEBRUARY 2, 2024
                                                                     JOINT LETTER BRIEFS
                   20   This Document Relates to: all actions

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                                                                                 GOOGLE’S ADMIN. MOTION TO SEAL
                                                                                 CASE NO. 4:21-CV-02155-YGR-VKD
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                    1   I.     INTRODUCTION
                    2          Pursuant to Northern District of California Civil Local Rules 7-11 and 79-5(c), Google LLC

                    3   (“Google”) respectfully submits this Administrative Motion (“Motion”) to Seal portions of the joint

                    4   letter briefs and certain accompanying exhibits regarding disputes concerning: (1) Plaintiffs’

                    5   Request for Production (“RFP”) Nos. 125-127 and 130-133; (2) Plaintiffs’ Interrogatory No. 22

                    6   and RFP Nos. 128-129; (3) Plaintiffs’ Interrogatory No. 23; and (4) Plaintiffs’ RFP No. 141, filed

                    7   on February 2, 2024 (together, the “February 2 Joint Letter Briefs”).

                    8          As set forth below and in the accompanying Declaration of Whitty Somvichian

                    9   (“Somvichian Declaration”), the cited portions of these documents contain highly sensitive,

                   10   confidential, and proprietary information that Google designated as “Confidential” and/or “Highly

                   11   Confidential—Attorneys’ Eyes Only” pursuant to the terms of the parties’ Stipulated Protective

                   12   Order, which the Court entered on June 3, 2021 (the “Protective Order”) (ECF No. 59). Throughout

                   13   this litigation, Google has requested to seal the categories of information cited below, and the Court

                   14   has consistently granted those requests. See, e.g., ECF No. 540 (N.D. Cal. June 8, 2023) (sealing

                   15   portions of a brief containing discussions regarding Google’s internal dashboards, data logs, and

                   16   data systems); ECF No. 526 (N.D. Cal. May 23, 2023) (sealing discussions of financial information

                   17   related to what revenue Google receives when a RTB participant wins a bid and shows an ad

                   18   through Google RTB); ECF No. 384 (N.D. Cal. Dec. 19, 2022) (sealing technical details regarding

                   19   Google’s internal logs and the identifiers contained therein).

                   20            Accordingly, Google hereby requests that the Court enter an order sealing the information

                   21   identified in the table below, as reflected in the Proposed Order attached hereto:

                   22                                                                                   Party Claiming
                                     Document                         Text to be Sealed
                                                                                                        Confidentiality
                   23
                         Joint Letter Brief Regarding RFP Portions highlighted at pages 1–7 Google
                   24    Nos. 125-127 and 130-133
                   25    Joint Letter Brief Regarding Portions highlighted at pages 1–6 Google
                         Interrogatory No. 22 and RFP
                   26    Nos. 128-129
                   27    Ex. B to the Joint Letter Brief Portions highlighted at page 4             Google
                         Regarding Interrogatory No. 22
                   28    and RFP Nos. 128-129
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                    1    Ex. D to the Joint Letter Brief Portions highlighted at pages 9– Google
                    2    Regarding Interrogatory No. 22 10
                         and RFP Nos. 128-129
                    3    Joint Letter Brief      Regarding Portions highlighted at pages 1–6 Google
                    4    Interrogatory No. 23
                         Joint Letter Brief Regarding RFP Portions highlighted at pages 3, 6 Google
                    5    No. 141
                    6   II.    LEGAL STANDARD
                    7          The Ninth Circuit applies two tests to determine whether a party is entitled to file certain

                    8   documents under seal: a “compelling reasons” test for dispositive motions and a “good cause” test

                    9   for motions “not related, or only tangentially related, to the merits of a case.” Ctr. for Auto Safety

                   10   v. Chrysler Grp., LLC, 809 F.3d 1092, 1097, 1099 (9th Cir. 2016) (citations omitted); Kamakana

                   11   v. City & County of Honolulu, 447 F.3d 1172, 1179–80 (9th Cir. 2006). Briefing for a discovery

                   12   motion is non-dispositive, and thus the good cause standard applies here. See, e.g., ECF No. 453

                   13   at 2 (“The underlying discovery dispute does not address the merits of the parties’ claims or

                   14   defenses and the Court therefore applies the ‘good cause’ standard of Rule 26(c).”); Calhoun v.

                   15   Google, No. 20-cv-05146, ECF No. 327, at 2 (N.D. Cal. Sept. 30, 2021) (finding the “good cause”

                   16   standard applies “because the information the parties seek to seal was submitted to the Court in

                   17   connection with discovery-related motions, rather than a motion that concerns the merits of the

                   18   case.”). The good cause standard “requires a ‘particularized showing,’ . . . that ‘specific prejudice

                   19   or harm will result’ if the information is disclosed.” Heath v. Google LLC, No. 15-cv-01824, 2018

                   20   WL 4561773, at *1 (N.D. Cal. Sept. 20, 2018) (quoting Phillips ex rel. Estates of Byrd v. Gen.

                   21   Motors Corp., 307 F.3d 1206, 1210–11 (9th Cir. 2002)).

                   22   III.   GOOD CAUSE WARRANTS SEALING OF PORTIONS OF THE FEBRUARY 2 JOINT LETTER
                               BRIEFS.
                   23

                   24          Google respectfully asks this Court to seal certain portions of the February 2 Joint Letter

                   25   Briefs. The portions of these documents identified above reflect highly sensitive, proprietary

                   26   information related to (1) Google’s business strategy, analysis, and revenue data regarding Google

                   27   Real-time Bidding (“Google RTB”), and (2) technical details and discussions concerning Google’s

                   28   internal infrastructure names, data logs, and data systems associated with Google RTB, as well as
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                    1   their proprietary functionalities and metrics. (Somvichian Decl. ¶¶ 3, 5, 9.) As explained below,
                    2   Google’s request satisfies the good cause standard, as this information is vital to Google’s
                    3   commercial success, and is the sort of “sensitive, non-public, confidential, and proprietary business
                    4   information” that courts routinely seal even under the more stringent compelling reasons standard.
                    5   Adtrader, Inc. v. Google LLC, No. 17-cv-07082, 2020 WL 6391210, at *2 (N.D. Cal. Mar. 24,
                    6   2020). Google has also narrowly tailored these sealing requests to encompass only the specific
                    7   portions that qualify as confidential information and therefore do not “unduly limit[] public access.”
                    8   ASUS Comput. Int’l v. Round Rock Research, LLC, No. 12-cv-02099, 2014 WL 2810193, at *2
                    9   (N.D. Cal. June 20, 2014); see also Civ. L.R. 79-5(c).
                   10          First, certain portions of the February 2 Joint Letter Briefs and their exhibits reflect highly
                   11   sensitive and confidential information about Google’s business strategy and analysis regarding
                   12   Google RTB, including discussion about product strategy, revenue metrics, and decision-making.
                   13   (Somvichian Decl. ¶¶ 3, 5–6.) This type of highly confidential business information is routinely
                   14   sealed by courts in this district. See, e.g., Kumandan v. Google LLC, No. 19-cv-04286, 2022 WL
                   15   17971644, at *1 (N.D. Cal. Oct. 17, 2022) (sealing financial information concerning Google’s
                   16   business opportunities and risks, and profits and losses); Unlockd Media, Inc. Liquidation Tr. v.
                   17   Google LLC, No. 21-cv-07250, 2022 WL 4624985, at *2 (N.D. Cal. Sept. 30, 2022) (sealing
                   18   information related to the company’s business model); Rodman v. Safeway Inc., No. 11-cv-03003,
                   19   2014 WL 12787874, at *2 (N.D. Cal. Aug. 22, 2014) (sealing “internal, nonpublic information
                   20   discussing [the defendant’s] pricing strategy, business decisionmaking [sic], and financial records,
                   21   which would expose [the defendant] to competitive harm if disclosed”). Disclosure of this
                   22   information would cause irreparable harm to Google by providing competitors and business
                   23   partners with insight into Google’s strategic business decisions and policies and priorities related
                   24   to Google RTB, as well as highly confidential financial information related to Google’s advertising
                   25   systems. (Somvichian Decl. ¶¶ 3, 7.) As a result, Google’s competitive standing could be
                   26   jeopardized if its competitors and business partners make changes to their business practices in
                   27   response to this information. (Id.) This Court has recognized the sensitivity of such information
                   28   by previously sealing internal discussions of Google’s revenue in this litigation. See e.g., ECF No.
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                    1   526 (N.D. Cal. May 23, 2023) (sealing discussions of what revenue Google receives when an RTB
                    2   participant wins a bid and displays an ad through Google RTB).
                    3          Second, Google also seeks to seal portions of the February 2 Joint Letter Briefs which
                    4   discuss the highly sensitive, confidential, and proprietary technical details regarding internal
                    5   infrastructure names, data logs, and data systems associated with Google RTB, as well as their
                    6   proprietary functionalities and metrics. (Somvichian Decl. ¶¶ 3, 9.) Courts in this District regularly
                    7   seal similar technical details regarding a company’s data infrastructure. See, e.g., In re Google Inc.
                    8   Gmail Litig., No. 13-md-02430, 2013 WL 5366963, at *3 (N.D. Cal. Sept. 25, 2013) (finding
                    9   compelling reasons to seal information about structures that Google has in place and the order in
                   10   which emails go through these structures); see also In re Facebook, Inc. Consumer Priv. User
                   11   Profile Litig., No. 3:18-md-02843, ECF No. 1082 (N.D. Cal. Dec. 6, 2022) (finding good cause to
                   12   seal certain highly technical information related to the defendant’s data systems).
                   13          Public disclosure of this information would also create a risk of cybersecurity threats as bad
                   14   actors would have access to names of Google’s logs, or descriptions of particular data systems may
                   15   make it easier for bad actors to piece together previously unconnectable facts. (Somvichian Decl.
                   16   ¶¶ 3, 10–11.) This would further jeopardize Google’s data infrastructure as bad actors could target
                   17   and seek to compromise information related to these confidential, internal names and data logs to
                   18   further infer additional information about Google users that Google stores in those data logs and
                   19   systems. (Id.) See also Google Inc. Gmail Litig., 2013 WL 5366963, at *3 (sealing material that
                   20   “if made public Google contends could lead to a breach in the security” of Google’s systems).
                   21   Throughout this litigation, the Court has consistently granted Google’s requests to seal descriptions
                   22   of Google’s internal logs and data systems. See, e.g., ECF No. 540 (N.D. Cal. June 8, 2023) (sealing
                   23   portions of a joint letter brief containing technical details and discussions regarding Google’s highly
                   24   sensitive, proprietary internal dashboards, data logs, and data systems); ECF No. 531 (N.D. Cal.
                   25   May 26, 2023) (sealing discussion of Google’s “technical details and identifiers related to highly
                   26   sensitive data logs and data systems.”); ECF No. 384 (N.D. Cal. Dec. 19, 2022) (sealing references
                   27   to and descriptions of Google’s internal logs and the identifiers contained therein).
                   28
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                    1   IV.    CONCLUSION
                    2          For the foregoing reasons, Google respectfully requests the Court seal certain portions of

                    3   the February 2 Joint Letter Briefs.

                    4

                    5   Dated: February 2, 2024                             COOLEY LLP
                    6

                    7                                                       By: /s/ Whitty Somvichian
                                                                                Whitty Somvichian
                    8
                                                                            Attorney for Defendant
                    9                                                       GOOGLE LLC
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